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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

JANELLE RODRIGUEZ,

Plaintiff,

-VS- Case No. 6:11-cy-298-Orl-18KRS

NATIONWIDE CREDIT, INC.,

Defendant.

 

ORDER

On May 31, 2011 the parties filed a joint stipulation for dismissal (Doc. No. 15).

Accordingly, pursuant to Fed.R.Civ.P. 41 (a), it is

ORDERED that this cause is DISMISSED with prejudice. Clerk of the Court is directed

to CLOSE the case.

DONE and ORDERED in Orlando, Florida, this day of June, 2011.
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G. KENDALL SHARP
SENIOR UNITED STATES DISTRICT JUDGE

Copies to:

Counsel of Record

 
